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                  EXHIBIT 10
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            Re:        In re Banc of California Sec. Lit., No. SACV 17-0018 AG-DFM – Responses and
                       Objections of Castalian Partners Value Fund LP and James Gibson

 Dear Mr. Van Nurden:

         We are in receipt of the August 7, 2018 Responses and Objections of James Gibson and
 Castalian Partners Value Fund, (collectively, “Respondents”), to the third-party subpoenas (the
 “Subpoenas”) issued on behalf of Steven A. Sugarman on July 17, 2018. Respondents’
 Responses and Objections state four objections – in addition to those included in the attached
 Appendix A – and indicate that Respondents are unwilling to produce any documents in response
 to the Subpoenas.

         Respondents allege that the Subpoenas seek discovery that is not relevant, describing
 them as a “fishing expedition” seeking “documents and information that the Court has already
 found to be outside the scope of permissible discovery.” We disagree on both accounts. The
 Court’s ruling that document requests to Banc of California’s directors attempting to establish
 “alleged ties or involvement in the publishing of the blog post… go[] a little far afield of [the]
 scienter issue,” (February 13, 2018 Omnibus Discovery Hearing Tr. 22:25-23:2), does not
 preclude the discovery sought here. That ruling stands only for the proposition that, where there
 was no evidence otherwise linking the directors to the blog post, discovery attempting to
 establish a link was too far removed from the issue of scienter. By contrast, the Requests here
 target the separate issue of loss causation, and are based on evidence that Respondents uniquely
 positioned themselves just before the blog publication to reap substantial benefit from a decline
 in Banc’s stock price.

        FINRA data shows that in the days leading up to the October 18, 2016 Seeking Alpha
 blog post publication, a small number of traders accumulated an unusually large number of put
 options in Banc securities.                          REDACTED



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                                     REDACTED                                             Based
 on this timing, what Respondents knew about the contents of the blog and its anticipated
 publication, and how and when they knew it, is directly relevant to loss causation. The Requests
 are therefore squarely within the scope of discovery. In re Daou Sys., Inc., 411 F.3d 1006, 1025
 (9th Cir. 2005) (“[T]o prove loss causation, the plaintiff must demonstrate a causal connection
 between the deceptive acts that form the basis for the claim of securities fraud and the injury
 suffered by the plaintiff.”).

        Pursuant to Local Rule 7.1(a) of the United States District Court for the District of
 Minnesota and Rule 37 of the Federal Rules of Civil Procedure, we request a conference to
 discuss Respondents’ objections and unwillingness to produce documents. If Respondents are
 unwilling to negotiate a scope of production, we will promptly seek an order requiring
 production of documents in response to the Subpoenas.

       Please let us know your availability for a meet and confer conference regarding
 Respondents’ objections. We look forward to speaking with you soon.



                                                     Best regards,




                                                     Rachel Rodriguez
                                                     of LATHAM & WATKINS LLP




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